Case 2:19-cv-04921-JDW Document1 Filed 10/22/19 Page 1 of 97

JS 44 (Rev. 02/19)

The JS 44 civil cover sheet and the information contained herein neither replace nor su;

CIVIL COVER SHEET

ement the filing and service of pleadings or other papers as required by law, except as

ne ppler
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I.

(a) PLAINTIFFS

MICHAEL F. ROGERS, ESQUIRE, Administrator of the Estate of
TERRENCE T. TAYLOR, Deceased

Shanin Speci

(b) County of Residence of First Listed Plaintiff

MONTGOMERY

(EXCEPT IN U.S. PLAINTIFF CASES)

(c), Attommeys (Firm Name,

Address, a
er, Esquire and

nd Telephone Number)
Colin Burke, Esquire

Kline & Specter, PC, 1525 Locust Street, Philadelphia, PA 19102
(215) 772-1000

NOTE:

 

DEFENDANTS
MONTGOMERY COUNTY

Attorneys (If Known)

County of Residence of First Listed Defendant

MONTGOMERY

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 US. Government $3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 * 1 Incorporated or Principal Place O4 04
of Business In This State
O 2. US. Government 0 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place o5 oO5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a oO 3 O 3 Foreign Nation o6 O86
Foreign Country

 

 

IV. NATURE OF SUIT (Place an “X” in One Box Only)

 

Click here for: Nature of Suit Code Descriptions.

 

 

 

 

 

 

 

 

 

 

 

| CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY. OTHER STATUTES |
© 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure CO 422 Appeal 28 USC 158 0 375 False Claims Act
© 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal 0 376 Qui Tam (31 USC
OF 130 Miller Act OC 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability 0 367 Health Care/ CO 400 State Reapportionment
O 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury C1 820 Copyrights 0 430 Banks and Banking
CO 151 Medicare Act 0 330 Federal Employers’ Product Liability C8 830 Patent 450 Commerce
0 152 Recovery of Defaulted Liability 0 368 Asbestos Personal C1 835 Patent - Abbreviated 0 460 Deportation
Student Loans C340 Marine Injury Product New Drug Application |( 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability O 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY. O 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle 0 370 Other Fraud O 710 Fair Labor Standards 0 861 HIA (1395ff) 0 485 Telephone Consumer
0) 160 Stockholders’ Suits 0 355 Motor Vehicle 0 371 Truth in Lending Act 0) 862 Black Lung (923) Protection Act
1 190 Other Contract Product Liability 0 380 Other Personal 0 720 Labor/Management O 863 DIWC/DIWW (405(g)) |O 490 Cable/Sat TV
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI O 850 Securities/Commodities/
0 196 Franchise Injury 0 385 Property Damage 0 740 Railway Labor Act 0 865 RSI (405(g)) Exchange
© 362 Personal Injury - Product Liability 0 751 Family and Medical © 890 Other Statutory Actions
Medical Malpractice Leave Act O 891 Agricultural Acts
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|0) 790 Other Labor Litigation FEDERAL TAX SUITS 0 893 Environmental Matters
© 210 Land Condemnation &% 440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement 0 870 Taxes (U.S. Plaintiff C1 895 Freedom of Information
0 220 Foreclosure 0 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) Act
O 230 Rent Lease & Ejectment 0 442 Employment © 510 Motions to Vacate 0 871 IRS—Third Party O 896 Arbitration
0 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 0 899 Administrative Procedure
© 245 Tort Product Liability Accommodations O 530 General Act/Review or Appeal of
OG 290 All Other Real Property © 445 Amer, w/Disabilities -] 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: © 462 Naturalization Application 1 950 Constitutionality of
O 446 Amer. w/Disabilities -] J 540 Mandamus & Other |0 465 Other Immigration State Statutes
Other 0 550 Civil Rights Actions
0 448 Education 0 555 Prison Condition
G 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original 112 Removed from O 3  Remanded from 0 4 Reinstated or © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Gis the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

U.S.C. Section1983

Brief description of cause:

VI. CAUSE OF ACTION

 

 

 

 

 

 

DEATH OF AN INMATE AT MONTGOMERY COUNTY PRISON
VII. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: MYes No
VII. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
10/22/2019 LA—_—
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE

MAG. JUDGE
Case 2:19-cv-04921-JDW Document1 Filed 10/22/19 Page 2 of 97
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff 510 TOWNSHIP LINE ROAD, SUITE 150, BLUE BELL, PA 19422

 

Address of Defendant: ONE MONTGOMERY PLAZA, 425 SWEDE STREET, NORRISTOWN, PA 19401

 

Place of Accident, Incident or Transaction: 60 EAGLEVILLE ROAD, EAGLEVILLE, PA 19403

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No
case filed by the same individual?

I certify that, to my knowledge, the within case [1 is / [2] is not related to any case now pending or within one year previously terminated action in

this court except as noted above. CY ¢
pare, 10/22/2019 theme 204924

 

 

 

 

 

 

 

Attorney-at-Law / Pro Se Plaintiff Attorney I.D. # (if applicable)
CIVIL: (Place a V in one category only)
A, Federal Question Cases: B. Diversity Jurisdiction Cases:
oO 1. Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
[] 2. FELA [] 2. Airplane Personal Injury
(1 3. Jones Act-Personal Injury [] 3. Assault, Defamation
[] 4. Antitrust L] 4. Marine Personal Injury
[] 5. Patent L] 5. Motor Vehicle Personal Injury
[|] 6. Labor-Management Relations [|] 6. Other Personal Injury (Please specify):
7. Civil Rights [] 7. Products Liability
LI] 8. Habeas Corpus L] 8. Products Liability — Asbestos
[] 9. Securities Act(s) Cases CL 9. All other Diversity Cases
L] 10. Social Security Review Cases (Please specify):
[] 11. All other Federal Question Cases
(Please specify):
ARBITRATION CERTIFICATION

(The effect of this certification is to remove the case from eligibility for arbitration.)

I, COLIN BURKE , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought.

pare, 10/22/2019 Cubana . 204924

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
Case 2:19-cv-04921-JDW Document1 Filed 10/22/19 Page 3 of 97

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
ADDRESSES OF ADDITIONAL DEFENDANTS

60 Eagleville Road
Eagleville, Pennsylvania 19403

3940 Locust Lane
Harrisburg, Pennsylvania 17109

5501 Old York Road
Philadelphia, Pennsylvania 19141

559 West Germantown Pike
East Norriton, Pennsylvania 19403

 
Case 2:19-cv-04921-JDW Document1 Filed 10/22/19 Page 4 of 97

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

addresmot pleiniti® 510 TOWNSHIP LINE ROAD, SUITE 150, BLUE BELL, PA 19422

 

Address of Defendant: ONE MONTGOMERY PLAZA, 425 SWEDE STREET, NORRISTOWN, PA 19401

 

Place of Accident, Incident or Transaction: 60 EAGLEVILLE ROAD, EAGLEVILLE, PA 19403

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No
case filed by the same individual?

I certify that, to my knowledge, the within case [1 is / [2] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

pare. 10/22/2019 “Aide 204924

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

 

 

 

CIVIL: (Place a ¥ in one category only)

 

 

 

 

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
Oi Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
L] 2. FELA [] 2. Airplane Personal Injury
LI 3. Jones Act-Personal Injury CL] 3. Assault, Defamation
CI 4. Antitrust [] 4. Marine Personal Injury
C] 5. Patent L] 5. Motor Vehicle Personal Injury
L] 6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
7. Civil Rights [] 7. Products Liability
[] 8. Habeas Corpus LL] 8. Products Liability — Asbestos
[] 9. Securities Act(s) Cases CL] 9. All other Diversity Cases
[] 10. Social Security Review Cases (Please specify):
[] 11. All other Federal Question Cases
(Please specify):
ARBITRATION CERTIFICATION

(The effect of this certification is to remove the case from eligibility for arbitration.)

I, COLIN BURKE , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought.

pate, 10/22/2019 (1 haser Lt 204924

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
Case 2:19-cv-04921-JDW Document1 Filed 10/22/19 Page 5 of 97

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
ADDRESSES OF ADDITIONAL DEFENDANTS

60 Eagleville Road
Eagleville, Pennsylvania 19403

3940 Locust Lane
Harrisburg, Pennsylvania 17109

5501 Old York Road
Philadelphia, Pennsylvania 19141

559 West Germantown Pike
East Norriton, Pennsylvania 19403

 
Case 2:19-cv-04921-JDW Document1 Filed 10/22/19 Page 6 of 97

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
MICHAEL F. ROGERS, ESQUIRE,

Administrator of the Estate of CIVIL ACTION
TERRENCE T. TAYLOR, Deceased

Vv.
MONTGOMERY COUNTY, et al. NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ; ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management — Cases that do not fall into any one of the other tracks. (X)

October 22,2019 Colin Burke, Esq. Plaintiff

 

 

 

Date Attorney-at-law Attorney for
215-772-1000 215-772-1005 colin.burke@klinespecter.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

 
Case 2:19-cv-04921-JDW Document1 Filed 10/22/19 Page 7 of 97

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MICHAEL F. ROGERS, ESQUIRE
Administrator of the Estate of
TERRENCE T. TAYLOR, deceased
510 Township Line Road, Suite 150
Blue Bell, Pennsylvania 19422

Plaintiff, NO.
Vv.

MONTGOMERY COUNTY
One Montgomery Plaza

425 Swede Street

Norristown, Pennsylvania 19401

AND

CORRECTIONAL OFFICER

BRIAN CHRISTY

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

GREGORY FERRELL

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

THOMAS STIMSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 
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CORRECTIONAL OFFICER

JAMES MEEHAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

MELVIN HOFFMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

ANTHONY STEVENSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

DAVID SLAYMAKER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

VICTORIA BARATUCCI

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

SERGEANT EDWARD KEEFER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 
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CORPORAL SEAN LEHMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

LIEUTENANT DAVID MONTEITH

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORPORAL TYRA IZZARD

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

PRIMECARE MEDICAL, INC.
3940 Locust Lane
Harrisburg, Pennsylvania 17109

AND

CLAUDETTE FOSTER, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

THOMAS REESE, R.N.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

JUDITH MCILHORNE, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 10 of 97

AND

SHERRI JONES, M.A.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

DR. MARGARET CARRILLO
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

ALBERT EINSTEIN HEALTHCARE NETWORK :
a/k/a EINSTEIN HEALTHCARE NETWORK

5501 Old York Road

Philadelphia, Pennsylvania 19141

AND

EINSTEIN MEDICAL CENTER MONTGOMERY:
a/k/a ALBERT EINSTEIN MEDICAL CENTER
MONTGOMERY a/k/a ALBERT EINSTEIN
MEDICAL CENTER — MONTGOMERY

559 West Germantown Pike

East Norriton, Pennsylvania 19403

AND

MEDICAL JOHN DOES 1-10
c/o PrimeCare Medical, Inc.
3940 Locust Lane

Harrisburg, Pennsylvania 17109

AND

CORRECTIONAL OFFICER JOHN DOES 1-10
c/o Montgomery County Correctional Facility

60 Eagleville Road

Eagleville, Pennsylvania 19403

Defendants.

 
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CIVIL ACTION COMPLAINT

Plaintiff, Michael F. Rogers, Esquire, Administrator of the Estate of Terrence T. Taylor,
deceased, by and through his attorneys, Kline & Specter, P.C., alleges as follows:

1. This action arises from the death of Terrence T. Taylor, a twenty-three-year-old
man, who died as a result of the conduct of the Defendants in intentionally denying and delaying
Mr. Taylor’s access to medical care while suffering from a serious medical condition during his
incarceration at the Montgomery County Correctional Facility (““MCCF”), where he was being
held on a probation violation, allowing his condition to deteriorate to the point of death. Mr.
Taylor’s death was a foreseeable and direct result of the conduct of the individual and
institutional defendants.

PARTIES

2. On December 15, 2017, Plaintiff, Michael F. Rogers, Esquire, was appointed the
Administrator of the Estate of Terrence T. Taylor, deceased. See Short Certificate, attached
hereto as Exhibit A. Plaintiff is an adult resident of the Commonwealth of Pennsylvania, with a
business address at 510 Township Line Road, Suite 150, Blue Bell, Pennsylvania 19422.

3. Defendant, Montgomery County, is a county, political subdivision, and
governmental entity in the Commonwealth of Pennsylvania, organized and existing under the
laws of the Commonwealth of Pennsylvania, with a principal place of business at One
Montgomery Plaza, 425 Swede Street, Norristown, Pennsylvania 19401.

4. Defendant, Correctional Officer Brian Christy (herein “Defendant Christy’), is an
adult person and resident of the Commonwealth of Pennsylvania with a business address at
Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville, Pennsylvania 19403.

Defendant Christy is a corrections officer employed by MCCF and/or Montgomery County, and,

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 12 of 97

at all times relevant hereto, was acting under color of state law and under the authority provided
to him as a corrections officer at MCCF.

5. Defendant, Correctional Officer Gregory Ferrell (herein “Defendant Ferrell’), is
an adult person and resident of the Commonwealth of Pennsylvania with a business address at
Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville, Pennsylvania 19403.
Defendant Ferrell is a corrections officer employed by MCCF and/or Montgomery County, and,
at all times relevant hereto, was acting under color of state law and under the authority provided
to him as a corrections officer at MCCF.

6. Defendant, Correctional Officer Thomas Stimson (herein “Defendant Stimson”),
is an adult person and resident of the Commonwealth of Pennsylvania with a business address at
Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville, Pennsylvania 19403.
Defendant Stimson is a corrections officer employed by MCCF and/or Montgomery County,
and, at all times relevant hereto, was acting under color of state law and under the authority
provided to him as a corrections officer at MCCF.

7. Defendant, Correctional Officer James Meehan (herein “Defendant Meehan”), is
an adult person and resident of the Commonwealth of Pennsylvania with a business address at
Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville, Pennsylvania 19403.
Defendant Meehan is a corrections officer employed by MCCF and/or Montgomery County, and
at all times relevant hereto, was acting under color of state law and under the authority provided
to him as a corrections officer at MCCF.

8. Defendant, Correctional Officer Melvin Hoffman (herein “Defendant Hoffman”),
is an adult person and resident of the Commonwealth of Pennsylvania with a business address at

Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville, Pennsylvania 19403.

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 13 of 97

Defendant Hoffman is a corrections officer employed by MCCF and/or Montgomery County,
and at all times relevant hereto, was acting under color of state law and under the authority
provided to him as a corrections officer at MCCF.

9, Defendant, Correctional Officer Anthony Stevenson (herein “Defendant
Stevenson’), is an adult person and resident of the Commonwealth of Pennsylvania with a
business address at Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville,
Pennsylvania 19403. Defendant Stevenson is a corrections officer employed by MCCF and/or
Montgomery County, and at all times relevant hereto, was acting under color of state law and
under the authority provided to him as a corrections officer at MCCF.

10. Defendant, Correctional Officer David Slaymaker (herein “Defendant
Slaymaker’’), is an adult person and resident of the Commonwealth of Pennsylvania with a
business address at Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville,
Pennsylvania 19403. Defendant Slaymaker is a corrections officer employed by MCCF and/or
Montgomery County, and at all times relevant hereto, was acting under color of state law and
under the authority provided to him as a corrections officer at MCCF.

11. Defendant, Correctional Officer Victoria Baratucci (herein “Defendant
Baratucci”), is an adult person and resident of the Commonwealth of Pennsylvania with a
business address at Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville,
Pennsylvania 19403. Defendant Baratucci is a corrections officer employed by MCCF and/or
Montgomery County, and at all times relevant hereto, was acting under color of state law and
under the authority provided to her as a corrections officer at MCCF.

12. Defendant, Sergeant Edward Keefer (herein “Defendant Keefer’), is an adult

person and resident of the Commonwealth of Pennsylvania with a business address at

 
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Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville, Pennsylvania 19403.
Defendant Keefer is a Sergeant and supervisor of other corrections officers employed by MCCF
and/or Montgomery County, and, at all times relevant hereto, was acting under color of state law
and under the authority provided to him as a Sergeant at MCCPF.

13. Defendant, Corporal Sean Lehman (herein “Defendant Lehman’), is an adult
person and resident of the Commonwealth of Pennsylvania with a business address at
Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville, Pennsylvania 19403.
Defendant Lehman is a Corporal and supervisor of other corrections officers employed by
MCCF and/or Montgomery County, and, at all times relevant hereto, was acting under color of
state law and under the authority provided to him as a Corporal at MCCF.

14. Defendant, Lieutenant David Monteith (herein “Defendant Monteith”), is an adult
person and resident of the Commonwealth of Pennsylvania with a business address at
Montgomery County Correctional Facility, 60 Eagleville Road, Eagleville, Pennsylvania 19403.
Defendant Monteith is a Lieutenant and supervisor of other corrections officers employed by
MCCF and/or Montgomery County, and, at all times relevant hereto, was acting under color of
state law and under the authority provided to him as a Lieutenant at MCCF.

15. Defendant, Corporal Tyra Izzard (herein “Defendant Izzard”), is an adult person
and resident of the Commonwealth of Pennsylvania with a business address at Montgomery
County Correctional Facility, 60 Eagleville Road, Eagleville, Pennsylvania 19403. Defendant
Izzard is a Corporal and supervisor of other corrections officers employed by MCCF and/or
Montgomery County, and at all times relevant hereto, was acting under color of state law and
under the authority provided to her as a Corporal at MCCF.

16. Defendant, PrimeCare Medical, Inc. (herein “Defendant PrimeCare”), is a

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 15 of 97

corporation or other jural entity organized and existing under and by virtue of the laws of the
Commonwealth of Pennsylvania and with a business address at 3940 Locust Lane, Harrisburg,
Pennsylvania 17109. The claim asserted against this Defendant is for the professional
negligence of its actual and/or ostensible agents, servants, and/or employees, and for its direct
negligence as stated more fully herein. A Certificate of Merit pursuant to Pennsylvania Rule of
Civil Procedure (“Pa. R. Civ. P.”) 1042.3 regarding the treatment, practice or work of this
Defendant is attached hereto as Exhibit B.

17. Defendant, Claudette Foster, R.N. (herein “Nurse Foster’’), is an adult person and
resident of the Commonwealth of Pennsylvania with a business address at PrimeCare Medical
Inc., 3940 Locust Lane, Harrisburg, Pennsylvania 17109. Nurse Foster is a registered nurse
employed by PrimeCare. The claim asserted against this Defendant is for her direct negligence
as stated more fully herein. A Certificate of Merit pursuant to Pennsylvania Rule of Civil
Procedure (“Pa. R. Civ. P.”’) 1042.3 regarding the treatment, practice or work of this Defendant
is attached hereto as Exhibit C.

18. | Defendant, Thomas Reese, R.N. (herein “Nurse Reese”), is an adult person and
resident of the Commonwealth of Pennsylvania with a business address at PrimeCare Medical
Inc., 3940 Locust Lane, Harrisburg, Pennsylvania 17109. Nurse Reese is a registered nurse
employed by PrimeCare. The claim asserted against this Defendant is for his direct negligence
as stated more fully herein. A Certificate of Merit pursuant to Pennsylvania Rule of Civil
Procedure (“Pa. R. Civ. P.”) 1042.3 regarding the treatment, practice or work of this Defendant
is attached hereto as Exhibit D.

19. Defendant, Judith MclIlhorne, R.N. (herein “Nurse MclIlhorne”), is an adult person

and resident of the Commonwealth of Pennsylvania with a business address at PrimeCare

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 16 of 97

Medical Inc., 3940 Locust Lane, Harrisburg, Pennsylvania 17109. Nurse Mcllhorne is a
registered nurse employed by PrimeCare. The claim asserted against this Defendant is for her
direct negligence as stated more fully herein. A Certificate of Merit pursuant to Pennsylvania
Rule of Civil Procedure (“Pa. R. Civ. P.”) 1042.3 regarding the treatment, practice or work of
this Defendant is attached hereto as Exhibit E.

20. Defendant, Sherri Jones, M.A. (herein “Medical Assistant Jones”), is an adult
person and resident of the Commonwealth of Pennsylvania with a business address at PrimeCare
Medical Inc., 3940 Locust Lane, Harrisburg, Pennsylvania 17109. Medical Assistant Jones is a
medical assistant employed by PrimeCare. The claim asserted against this Defendant is for her
direct negligence as stated more fully herein. A Certificate of Merit pursuant to Pennsylvania
Rule of Civil Procedure (“Pa. R. Civ. P.”) 1042.3 regarding the treatment, practice or work of
this Defendant is attached hereto as Exhibit F.

21. Defendant, Dr. Margaret Carrillo (herein “Dr. Carrillo”), is an adult person and
resident of the Commonwealth of Pennsylvania with a business address at PrimeCare Medical
Inc., 3940 Locust Lane, Harrisburg, Pennsylvania 17109. Dr. Carrillo is a physician employed
by PrimeCare. The claim asserted against this Defendant is for her direct negligence as stated
more fully herein. A Certificate of Merit pursuant to Pennsylvania Rule of Civil Procedure (“Pa.
R. Civ. P.”) 1042.3 regarding the treatment, practice or work of this Defendant is attached hereto
as Exhibit G.

22. Defendant, Albert Einstein Healthcare Network a/k/a Einstein Healthcare
Network (herein “Defendant Albert Einstein Healthcare Network”), is a corporation or other
jural entity organized and existing under and by virtue of the laws of the Commonwealth of

Pennsylvania and with a business address at 5501 Old York Road, Philadelphia, Pennsylvania

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19141. The claim asserted against this Defendant is for the professional negligence of its actual
and/or ostensible agents, servants, and/or employees, and for its direct negligence as stated more
fully herein. A Certificate of Merit pursuant to Pennsylvania Rule of Civil Procedure (“Pa. R.
Civ. P.”) 1042.3 regarding the treatment, practice or work of this Defendant is attached hereto as
Exhibit H.

23. Defendant, Einstein Medical Center Montgomery a/k/a Albert Einstein Medical
Center Montgomery a/k/a Albert Einstein Medical Center - Montgomery (herein “Defendant
Einstein Medical Center Montgomery”), is a corporation or other jural entity organized and
existing under and by virtue of the laws of the Commonwealth of Pennsylvania and with a
business address at 559 West Germantown Pike, East Norriton, Pennsylvania 19403. The claim
asserted against this Defendant is for the professional negligence of its actual and/or ostensible
agents, servants, and/or employees, and for its direct negligence as stated more fully herein. A
Certificate of Merit pursuant to Pennsylvania Rule of Civil Procedure (“Pa. R. Civ. P.”) 1042.3
regarding the treatment, practice or work of this Defendant is attached hereto as Exhibit I.

24. ‘At all times material hereto, Defendant Montgomery County owned, operated,
maintained, was responsible for, and/or otherwise controlled MCCF.

25. Atall relevant times hereto, Defendant Montgomery County had a duty to provide
timely and proper medical care to inmates under their control.

26. At all times relevant hereto, Defendant PrimeCare was acting by and through its
actual and/or ostensible agents, servants, and/or employees including Dr. Margaret Carrillo,
Claudette Foster, R.N., Thomas Reese, R.N., Judith MclIlhorne, R.N., Sherri Jones, M.A., and
other physicians, nurses, therapists, technicians, and/or medical practice personnel whose

activities and conduct with regard to the medical care and treatment provided to Terrence T.

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Taylor are presently known only to the Defendants, but not to Plaintiff, after reasonable
investigation and in the absence of complete discovery.

27. At all times material hereto, Defendant PrimeCare was liable for the negligent
acts and/or omissions of Dr. Margaret Carrillo, Claudette Foster, R.N., Thomas Reese, R.N.,
Judith Mcllhorne, R.N., Sherri Jones, M.A., and other physicians, nurses, therapists, technicians,
and/or medical practice personnel whose activities and conduct with regard to the medical care
and treatment provided to Terrence T. Taylor are presently known only to the Defendants, but
not to Plaintiff, after reasonable investigation and in the absence of complete discovery, under
theories of agency, master-servant, respondeat superior, and/or control or right of control.

28. At all times material hereto, Defendant PrimeCare and its actual and/or ostensible
agents, servants, and/or employees, as identified herein, were engaged in the practice of
medicine and/or nursing, and were obligated to bring to bear in the practice of their respective
professions the professional skill, knowledge, and care that they possessed, and to pursue their
professions in accordance with reasonably safe and acceptable standards of medicine and nursing
in general, and in their particular specialties.

29. At all times relevant hereto, Defendants, Albert Einstein Healthcare Network and
Einstein Medical Center Montgomery (collectively “the Einstein Defendants”), were acting by
and through their actual and/or ostensible agents, servants, and/or employees, including
physicians, nurses, therapists, technicians, and/or medical practice personnel whose activities and
conduct with regard to the medical care and treatment provided to Terrence T. Taylor are
presently known only to the Defendants, but not to Plaintiff, after reasonable investigation and in

the absence of complete discovery.

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30. At all times material hereto, the Einstein Defendants were liable for the negligent
acts and/or omissions of their actual and/or ostensible agents, servants, and/or employees,
including physicians, nurses, therapists, technicians, and/or medical practice personnel whose
activities and conduct with regard to the medical care and treatment provided to Terrence T.
Taylor are presently known only to the Defendants, but not to Plaintiff, after reasonable
investigation and in the absence of complete discovery, under theories of agency, master-servant,
respondeat superior, and/or control or right of control.

31. At all times material hereto, the Einstein Defendants and their actual and/or
ostensible agents, servants, and/or employees were engaged in the practice of medicine and/or
nursing, and were obligated to bring to bear in the practice of their respective professions the
professional skill, knowledge, and care that they possessed, and to pursue their professions in
accordance with reasonably safe and acceptable standards of medicine and nursing in general,
and in their particular specialties.

32. At all times relevant to this Complaint, Defendant Medical John Does 1-10, were
medical professionals employed by Defendant PrimeCare and/or the Einstein Defendants
assigned to provide medical services at MCCF and/or the Einstein Defendants. Plaintiff does not
presently know the names of these defendants but will seek leave to amend the Complaint so as
to name each appropriate defendant after additional discovery.

33.  Atall times relevant to this Complaint, Defendant Correctional Officer John Does
1-10, were correctional officers or supervisors employed by Defendant Montgomery County to
work at MCCF. Plaintiff does not presently know the names of these defendants but will seek
leave to amend the Complaint so as to name each appropriate defendant after additional

discovery.

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JURISDICTION AND VENUE

34. The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §
1331, as Plaintiff's claims arise under the United States Constitution and 42 U.S.C. § 1983. The
Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. § 1367.

35. Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C. §
1391(b) because one or more of the Defendants reside in this district, all Defendants are residents
of the Commonwealth of Pennsylvania, and a substantial part of the events or omissions giving
rise to the claim occurred in this judicial district.

OPERATIVE FACTS

36. The preceding paragraphs and allegations stated above are incorporated by
reference as though fully set forth herein.

37. | The decedent, Terrence T. Taylor, was incarcerated at MCCF beginning on May
24, 2017 for a probation violation.

38. On the morning of October 28, 2017, Mr. Taylor was an otherwise healthy
individual and participated in the prison’s work release program. He was housed in housing unit
S3.

39. On October 28, 2017, Mr. Taylor injured his left shoulder. He was taken to
MCCF main medical triage by Defendant Monteith, and evaluated by a PrimeCare physician, Dr.
Margaret Carrillo. As part of his evaluation his blood pressure was taken.

40. As aresult of his evaluation, Mr. Taylor was sent to the Emergency Department
(“ED”) of Defendant Einstein Medical Center Montgomery for further evaluation and treatment.
Mr. Taylor departed MCCF at approximately 12:24 and was transported to the hospital by

Defendant Ferrell.

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41. At the time of Mr. Taylor’s transport to the hospital he was ambulatory and did
not require any assistance.

42. In the emergency department of Einstein Medical Center Montgomery, Mr.
Taylor was diagnosed with a closed dislocation of the left shoulder girdle, was supplied a sling,
and was given Percocet for pain at 13:30. Mr. Taylor was discharged with a prescription for
Naproxen (Naprosyn), one 375 mg oral tablet twice per day as needed for pain.

43. Mr. Taylor returned to MCCF at approximately 15:30.

44, Upon arrival at the medical department of MCCF, Mr. Taylor was seen by a
PrimeCare nurse, Claudette Foster, R.N., and was then taken by Defendant Monteith to the
Community Corrections Center booking area at approximately 15:37 to provide a urine sample.

45. Defendants Ferrell, Christy, Monteith, and Stimson were on assignment and/or
present in the Community Corrections Center booking area during the time frame of
approximately 15:37 to 18:10 when Mr. Taylor was present therein.

46. At approximately 15:37, Mr. Taylor was pacing in the waiting area with his
shoulder in a sling. At approximately 15:40, Mr. Taylor was drinking a beverage and entered the
restroom in the Community Corrections Center booking area.

47. At approximately 16:12, Mr. Taylor exited the restroom and then re-entered the
restroom. At approximately 16:13, Mr. Taylor exited the restroom and was given another
beverage by Defendant Ferrell. He then returned to the restroom with the door open.

48. At approximately 16:29, Mr. Taylor exited the restroom. At approximately 16:30,
Mr. Taylor entered the restroom and closed the door.

49, At approximately 16:40, Mr. Taylor opened the restroom door and sat on a chair

in the restroom.

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50. At approximately 17:17, Mr. Taylor exited the restroom wiping his face and then
re-entered the restroom with a beverage, leaving the door open.

51. Atapproximately 17:19, Mr. Taylor exited the restroom and sat down in a chair.

52. At approximately 17:28, Mr. Taylor informed Defendant Christy that he was
given Percocet at the hospital. Defendant Monteith was advised thereof at approximately 17:30
when he entered the Community Corrections Center booking area.

53. At approximately 17:45, Mr. Taylor vomited. Defendant Christy asked him if he
was “ok” and received no response.

54. During the time that Mr. Taylor was in the Community Corrections Center
booking area, Defendant Ferrell reported that Mr. Taylor appeared “lethargic and disoriented”
and observed that Mr. Taylor had vomited in the toilet.

55. At approximately 17:50, Mr. Taylor entered the restroom. At approximately
17:53, Defendant Ferrell checked on Mr. Taylor in the restroom.

56. At approximately 18:04, video shows Mr. Taylor exit the restroom and fall to the
floor. Mr. Taylor is in severe distress, disoriented, unable to stand, and covered in his own
vomit. Defendants Ferrell and Stimson need to physically lift him up to place him in a chair.

57. During this time, Mr. Taylor is seated in a chair, restless and trying to move
forward as Defendants Ferrell and Stimson hold him in place.

58. Records produced indicate that, at approximately 18:04, PrimeCare employee
Nurse Foster, spoke with someone from Defendant Einstein Medical Center Montgomery who
confirmed Mr. Taylor been given Percocet, at the hospital, and could be having a reaction to the
medication. Nurse Foster advised Defendant Christy of this information. When Defendant

Christy told Nurse Taylor that Mr. Taylor was vomiting, she replied it was “probably an allergic

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reaction.”

59. Mr. Taylor continues to vomit on himself and unable to support himself.

60. At approximately 18:08, Mr. Taylor’s head is seen rolling back and correctional
officers were lifting and supporting his head.

61. At approximately 18:10, due to Mr. Taylor’s continued display of an obvious and
serious medical condition, Mr. Taylor was lifted into a wheelchair and was taken from the
Community Corrections Center booking area to the PrimeCare medical unit by Defendants
Lehman, Ferrell, and Hoffman.

62. Upon arrival at PrimeCare medical unit, Mr. Taylor’s signs and symptoms of a
serious medical condition include: excessive vomiting, lethargy, slurred speech, confusion,
disorientation, agitation, possible allergic reaction, and inability to support his own weight.

63. Mr. Taylor was alternately described in PrimeCare records as having been
returned to main medical triage due to reports of acting bizarre, vomiting and crawling on the
facility floor.

64. Defendant correctional staff members Stevenson, Slaymaker, Meehan, Izzard,
Lehman, Baratucci, and Keefer were on assignment and/or present in the PrimeCare medical unit
during the time frame of approximately 18:10 to 21:20.

65. From approximately 18:10 through 18:41, Mr. Taylor was seated in a wheelchair
in the middle of the PrimeCare medical unit. Mr. Taylor was accompanied by two correctional
officers until around 18:30. A trashcan was placed at his feet.

66. Mr. Taylor continued to demonstrate signs of a serious medical issue, including
agitation, restlessness, falling forward, and even falling out of the wheelchair and having to be

physically placed back into the wheelchair. At times, Mr. Taylor’s head was being held up by a

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correctional officer.

67. | Video evidence shows a PrimeCare nurse approached Mr. Taylor with a blood
pressure cuff but didn’t place it on him, or otherwise use it to check his blood pressure, despite
clear and obvious signs of a serious medical issue.

68. At approximately 18:41, Mr. Taylor was wheeled out of view of the video
camera.

69. According to documents produced by Defendant Montgomery County, at
approximately 18:50, Mr. Taylor entered Medical Housing Unit M1-517, escorted by Defendants
Lehman and Izzard, “for observation.” Defendants Lehman, Stevenson, Meehan, and Hoffman
moved Mr. Taylor from his wheelchair to the bunk, laying him on his back.

70. According to documents produced by Defendant Montgomery County,
Defendants Stevenson, Slaymaker, Meehan, Izzard and PrimeCare employee Nurse Reese toured
the medical unit between 18:41 when Mr. Taylor was moved to the medical unit cell through
21:20 when Mr. Taylor was found unresponsive in his cell.

71. According to documents produced by Defendant Montgomery County, inmates in
the medical unit are supposed to be checked every fifteen (15) minutes by medical and
correctional staff for the well-being of the inmates.

72. The video evidence between 18:41 through 21:20, when Mr. Taylor was found
unresponsive, was destroyed by the Defendants Montgomery County.

73. During the 18:41 through 21:20 time period, Mr. Taylor continued to demonstrate
clear and obvious signs and symptoms indicating a life-threatening medical issue.

74. Upon information and belief, Mr. Taylor was not checked by any correctional

staff or PrimeCare employees between 18:41 and 21:20.

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75. During the 18:41 through 21:20 time period, other inmates, including Brian
Devine and Richard Pasquarello, housed in the medical unit, observed Mr. Taylor suffering from
a clear and obvious serious medical issue.

76. During this time, other inmates observed Mr. Taylor on the floor of his cell,
crawling in circles, his eyes partially closed, struggling to breathe, and exhibiting other signs and
symptoms of a life-threatening medical issue.

77. Other inmates, despite not having medical training, recognized Mr. Taylor was
suffering from an obvious and serious life-threatening medical issue that required immediate
care.

78. As a result of their observations of Mr. Taylor, other inmates notified the
Correctional Officers and Staff of the need for immediate intervention by knocking on the glass
window partition of the medical unit, screaming for help, and attempting to draw attention to Mr.
Taylor.

79. | While Mr. Taylor continued to exhibit signs and symptoms of a serious medical
issue, Correction Officers and Staff responded to the concerns of the inmates by telling them “get
the fuck away from his(Taylor) cell,” and “don’t tell me how to do my job,” and to “mind your
business.”

80. Inmates continued to observe Mr. Taylor’s decline and notified the correction
officers and staff that Taylor was no longer breathing.

81. At 21:20, Defendant Baratucci, the first level medical unit housing officer, first
reported that inmates notified her inmate Taylor is not moving.

82. At approximately 21:21, Defendant Stevenson was told to “check on” Mr. Taylor.

83. Thereafter, Mr. Taylor was found lying unresponsive on the floor of his cell. A

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medical emergency was finally called and PrimeCare medical staff members initiated CPR.

84. At approximately 21:32, an AED was applied but did not indicate a shock for Mr.
Taylor.

85. | EMS was called at 21:29 and arrived at MCCF at 21:34 to find Mr. Taylor supine
on the floor in his cell, unconscious, unresponsive, pulseless, and apneic. Cardiac arrest was
confirmed.

86. | EMS departed MCCF for Einstein Medical Center Montgomery at 21:49, arriving
at the hospital at 21:58 at which time Mr. Taylor was in complete cardiac arrest.

87. | Mr. Taylor was pronounced dead by hospital staff at 22:06.

88. An autopsy was performed on Mr. Taylor on October 29, 2017, and cause of
death was found to be dysrhythmia (ventricular fibrillation) due to cardiomegaly, with bifid
cardiac apex.

89. All of the aforementioned correctional officers knew that Mr. Taylor had a
constitutional right to prompt medical care in light of his serious medical condition.

90. All of the aforementioned correctional officers knew that their conduct of failing
to provide or obtain prompt medical care was unlawful and violative of the constitutional rights
of Mr. Taylor.

91. | While in the Community Corrections Center booking area and the PrimeCare
medical unit and Medical Housing Unit cell, Mr. Taylor was suffering from a severe and
worsening medical condition.

92. Defendants Ferrell, Christy, Monteith, Stimson, Lehman, and Hoffman knew Mr.
Taylor was experiencing a serious and worsening medical condition when in the Community

Corrections Center booking area based on Mr. Taylor’s above-described symptoms and their

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above-described interactions with him.

93. Defendants Ferrell, Christy, Monteith, Stimson, Lehman, and Hoffman and
PrimeCare medical staff who were on assignment and/or present in the Community Corrections
Center booking area during the time frame of approximately 15:37 to 18:10 when Mr. Taylor
was present therein intentionally denied and/or delayed Mr. Taylor’s access to medical care by
delaying and/or failing to respond to their own observations of his serious and worsening
medical condition.

94, Defendants Stevenson, Slaymaker, Meehan, Izzard, Lehman, Baratucci, and
Keefer knew Mr. Taylor was experiencing a serious and worsening medical condition when he
was in the PrimeCare medical unit and the Medical Housing Unit based on Mr. Taylor’s above-
described symptoms and their above-described interactions with him.

95. The MCCF correctional supervisors and officers failed to respond in a timely
manner to Mr. Taylor’s severe and worsening medical condition.

96. All Defendants failed to provide medical treatment to Mr. Taylor when he was in
the PrimeCare medical unit and Medical Housing Unit despite the serious and worsening
changes in Mr. Taylor’s condition and the onset of new signs and symptoms of a serious medical
condition after he returned from the hospital.

97. The correctional supervisors and officers at MCCF and the practitioners of
correctional healthcare at PrimeCare knew or should have known of the serious and worsening
medical condition suffered by Mr. Taylor.

98. Every correctional officer and staff member mentioned above knew or had reason
to believe that PrimeCare, by and through its agents, servants, and employees, were mistreating

Mr. Taylor.

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99, The seriousness of the Mr. Taylor’s medical issue, while in the medical unit, was
so clear and obvious that other inmates recognized the same and desperately tried to get him
medical attention, to no avail.

100. All of the correctional officers and staff inside the medical unit disregarded the
other inmates requests for medical help for Mr. Taylor.

101. Mr. Taylor received no continuing medical care, and in fact received no medical
care at all, from any of the Defendants during the time that he was in the PrimeCare medical unit
and his cell in the Medical Housing Unit prior to being found unresponsive at 21:24.

102. Despite knowing of the risk of serious injury or death due to the failure to provide
timely medical treatment to Mr. Taylor, the Defendants continued to deny such treatment.
Instead, Mr. Taylor was left in a cell to die.

103. Records produced by Defendants Montgomery County and PrimeCare do not
reflect any treatment or evaluation of Mr. Taylor during his time in the PrimeCare medical unit
or a cell in the Medical Housing Unit prior to being found unresponsive.

104. PrimeCare and its employee medical providers including Dr. Margaret Carrillo,
Claudette Foster, R.N., Thomas Reese, R.N., Judith Mcllhorne, R.N., and Sherri Jones, M.A.,
did not provide any treatment or evaluation of Mr. Taylor during his time in the PrimeCare
medical unit or his cell in the Medical Housing Unit prior to being found unresponsive.

105. Defendants Ferrell, Christy, Monteith, Stimson, Lehman, Hoffman, Stevenson,
Slaymaker, Meehan, Izzard, Baratucci, and Keefer knew or had a reason to believe that the
PrimeCare medical staff were not treating Mr. Taylor.

106. Defendants Ferrell, Christy, Monteith, Stimson, Lehman, Hoffman, Stevenson,

Slaymaker, Meehan, Izzard, Baratucci, and Keefer knew that Mr. Taylor was in distress and

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personally observed Mr. Taylor suffering from symptoms of a serious medical condition for
which he was not receiving medical care.

107. Defendants Stevenson, Slaymaker, Meehan, Izzard, Lehman, Baratucci, and
Keefer and PrimeCare medical staff who were on assignment and/or present in the PrimeCare
medical unit during the time frame of approximately 18:10 to 21:20 intentionally denied and/or
delayed Mr. Taylor’s access to medical care by failing to respond to their own observations of
his serious and worsening medical condition.

108. Defendants Stevenson, Slaymaker, Meehan, Izzard, Lehman, Baratucci, and
Keefer and PrimeCare medical staff who were on assignment and/or present in the PrimeCare
medical unit failed to respond to the medical emergency calls of Mr. Taylor’s fellow inmates.

109. Defendants Stevenson, Slaymaker, Meehan, Izzard, Lehman, Baratucci, and
Keefer and PrimeCare medical staff who were on assignment and/or present in the PrimeCare
medical unit failed to perform fifteen (15) minutes check on Mr. Taylor to assess his continued
life-threatening medical condition.

110. Defendants Ferrell, Christy, Monteith, Stimson, Lehman, Hoffman, Stevenson,
Slaymaker, Meehan, Izzard, Baratucci, and Keefer failed to communicate Mr. Taylor’s serious
and worsening medical condition to medical staff.

111. All Defendants failed to promptly request emergency transport to return Mr.
Taylor to the ED after he exhibited signs and symptoms of a serious medical issue, including
suspected allergic reaction.

112. All Defendants failed to provide prompt medical attention and treatment to Mr.

Taylor.

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113. As a direct and proximate result of the Defendants’ unreasonable, unjustifiable
and unconstitutional conduct, Terrence T. Taylor was caused to suffer the following:
a. Severe symptoms of a serious medical condition resulting in cardiac arrest;
b. Nausea;
c. Uncontrolled vomiting;
d. Disorientation, confusion, and incoherence;
e. Unsteadiness and failure to support own head and body weight;
f. Agitation and restlessness;
g. Difficulty breathing;
h. Lack of oxygen;
i. Pain and suffering;
j. Emotional distress;
k. Mental anguish;
l. Embarrassment;
m. Disfigurement;
n. Loss of life’s pleasures;
o. Cardiac arrest; and
p. Death.
114. Terrence T. Taylor, deceased, left surviving him one minor daughter, S.T., who is
his sole beneficiary under the Wrongful Death Act.
115. Asa result of the conduct of the Defendants, as set forth herein, Terrence T.
Taylor, deceased, was caused grave injuries and death resulting in the entitlement to damages by

his beneficiary under the Wrongful Death Act.

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116. Plaintiff, Michael F. Rogers, Esquire, Administrator of the Estate of Terrence T.
Taylor, deceased, claims all expenses recoverable under the Wrongful Death Act, including, but
not limited to, damages for medical, funeral and burial expenses and expenses of administration
necessitated by reason of the injuries causing Terrence T. Taylor’s death.

117. On behalf of the Wrongful Death Act beneficiary, Plaintiff claims damages for
monetary support that the decedent would have provided to the beneficiary during her lifetime,
including, but not limited to, the support provided, or which could have been expected to have
been provided, to the beneficiary.

118. On behalf of the Wrongful Death Act beneficiary, Plaintiff claims damages for
services provided or which could have been expected to have been provided in the future.

119. On behalf of the Wrongful Death Act beneficiary, Plaintiff claims damages for all
pecuniary loss suffered by the beneficiary.

120. On behalf of the Wrongful Death Act beneficiary, Plaintiff claims damages for all
loss of consortium, comfort, society, guidance, and tutelage that the beneficiary may have
received from the decedent if not for the decedent’s untimely death.

121. On behalf of the Wrongful Death Act beneficiary, Plaintiff claim the full measure
of damages allowed under the Wrongful Death Act of Pennsylvania and the decisional law
interpreting said Act.

122. Plaintiff, Michael F. Rogers, Esquire, Administrator of the Estate of Terrence T.
Taylor, deceased, is entitled to bring this action on behalf of the Estate of Terrence T. Taylor
under and by virtue of the Survival Act, 42 Pa. C.S. § 8302, the decisional law interpreting said
Act, and the applicable Rules of Civil Procedure, which provide for the survivability of causes of

action.

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123. Asaresult of the conduct of all of the Defendants, as set forth herein, Terrence T.
Taylor was caused grave injuries and death, resulting in the entitlement to damages by his Estate
under the Survival Act.

124. Asaresult of the death of Terrence T. Taylor, his Estate has been deprived of the
economic value of his life expectancy, and Plaintiff claims under the Survival Act damages for
all pecuniary losses suffered by the Estate as a result of the decedent’s death, including all loss of
income, earnings, retirement income, benefits, and Social Security income.

125. Plaintiff further claims under the Survival Act the total amount that the decedent
would have earned in the future, minus the costs of personal maintenance.

126. Plaintiff further claims under the Survival Act damages for the conscious pain and
suffering endured by the decedent prior to his death, including physical and mental pain and
suffering leading to the decedent’s death.

127. Plaintiff further claims under the Survival Act all damages recoverable pursuant
to 42 Pa. C.S. § 8302 and the decisional law interpreting said Act.

DESTRUCTION OF EVIDENCE

128. MCCF had video camera coverage of the Medical Housing Unit and cell, M1-
517, where Mr. Taylor was placed and later found unresponsive on October 28, 2017, for the
time period of 18:41-21:20.

129. On December 21, 2017, MCCF Warden Julio M. Algarin was informed of an
obligation to preserve all video from October 28, 2017 relating to Mr. Taylor.

130. During pre-complaint discovery, Plaintiff’s counsel specifically requested the
video camera evidence for the medical housing unit and cell, including M1-517, where Mr.

Taylor was placed for “observation” before being found unresponsive.

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131. During pre-complaint discovery, records produced by Defendants indicate that the
video footage from the critical time period of 18:41, when Mr. Taylor was moved to the medical
unit cell, through 21:20, when he was found unresponsive, was preserved and secured as
evidence.

132. Despite multiple efforts to review this video with the County Solicitor’s Office,
the video footage from the critical time period of 18:41, when Mr. Taylor was moved to the
medical unit cell, through 21:20 when Mr. Taylor was found unresponsive in his cell, was
destroyed.

133. Due to Defendant Montgomery County’s destruction of this critical video
evidence, from the M-1 Dayroom Camera and from the Medical Housing Unit for the time
period from 18:41 through 21:20 on October 28, 2017, no video evidence now exists of the
outside of Mr. Taylor’s cell and the surrounding area during this critical time period prior to his
death.

COUNT I - CIVIL RIGHTS- 42 U.S.C. § 1983
Plaintiff, Michael F. Rogers, Esquire, Administrator of the Estate of Terrence T. Taylor,
Deceased v. Defendants Christy, Ferrell, Stimson, Meehan, Hoffman, Stevenson,
Slaymaker, Lehman, Monteith, Izzard, Baratucci, and Keefer, Montgomery County, and
Correctional Officer John Does 1-10

134. The preceding paragraphs and allegations are incorporated by reference as though
fully set forth herein.

135. Defendants in all of their actions and inactions described herein with regard to
Terrence T. Taylor were all acting under the color of state law.

136. Defendants were deliberately indifferent to Terrence T. Taylor’s serious medical

needs and thereby violated Mr. Taylor’s right to be free from cruel and unusual punishment

under the Eighth Amendment to the United States Constitution.

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137. Defendants herein deprived Terrence T. Taylor of his constitutionally guaranteed
liberty interest by violating his right to due process of law under the Fourteenth Amendment to
the United States Constitution.

138. Defendants were aware that Plaintiff's decedent had clearly established
constitutional rights to bodily integrity and medical care for his serious medical needs.

139. Defendants’ conduct, as set forth above, demonstrates that the harm caused to
Plaintiff's decedent was a foreseeable and direct result of the Defendants’ conduct.

140. Defendants’ conduct, as set forth above, demonstrates that the Defendants acted
with deliberate indifference and conscious disregard of the great risk of serious harm to
Plaintiff's decedent.

141. Defendants’ conduct, as set forth above, violated Terrence T. Taylor’s
constitutional rights, as guaranteed by the United States and Pennsylvania Constitutions, and
remediable under 42 U.S.C. § 1983.

142. As a direct and proximate result of the Defendants’ unreasonable, unjustifiable
and unconstitutional conduct, Plaintiff's decedent was caused to suffer the injuries described
herein, including his death.

WHEREFORE, Plaintiff demands judgment against Defendants Christy, Ferrell,
Stimson, Meehan, Hoffman, Stevenson, Slaymaker, Lehman, Monteith, Izzard, Baratucci, and
Keefer, Montgomery County, and Correctional Officer John Does 1-10, for all damages provided
under the Pennsylvania Survival and Wrongful Death Acts, jointly and severally, together with
attorney’s fees and costs, and pre- and post-judgment interest and any all relief available

pursuant to 42 U.S.C. § 1983.

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COUNT II — CIVIL RIGHTS

Plaintiff, Michael F. Rogers, Esquire, Administrator of the Estate of Terrence T. Taylor,
Deceased v. Defendant Montgomery County

143. The preceding paragraphs and allegations are incorporated by reference as though
fully set forth herein.

144. Defendant’s conduct, as set forth above, evinces a violation of Plaintiff's
decedent’s constitutional rights, including those guaranteed by the Eight and Fourteenth
Amendments to the United States Constitution.

145. Defendant’s conduct, as set forth above, demonstrates that Defendant
Montgomery County failed to properly train, and/or failed to have a proper policy regarding
training of correctional supervisors and officers and medical providers on the appropriate
treatment and monitoring of individuals experiencing serious medical conditions such as that
experienced by Terrence T. Taylor, thereby depriving Plaintiff's decedent of his constitutional
rights.

146. Defendant’s conduct, as set forth above, demonstrates that Defendant
Montgomery County failed to properly supervise and/or monitor, and/or failed to have a proper
policy regarding supervising and/or monitoring, correctional supervisors and officers and
medical providers on the appropriate treatment and monitoring of individuals experiencing
serious medical conditions such as that experienced by Terrence T. Taylor, thereby depriving
Plaintiff's decedent of his constitutional rights.

147. Defendant’s conduct, as set forth above, demonstrates that Defendant
Montgomery County failed to train, monitor, and supervise correctional supervisors and officers
and medical providers to timely respond and treat individuals experiencing serious medical

conditions such as that experienced by Terrence T. Taylor, thereby depriving Plaintiff's decedent

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of his constitutional rights.

148. The above-referenced actions are outrageous, egregious, and conscience-
shocking, and rise to a level of intention to cause harm.

149. As a direct and proximate result of the Defendant’s unreasonable, unjustifiable
and unconstitutional conduct, Plaintiff's decedent was caused to suffer serious injuries including
death.

WHEREFORE, Plaintiff demands judgment against Defendant Montgomery County for
all damages provided under the Pennsylvania Survival and Wrongful death acts, jointly and
severally, together with attorney’s fees and costs, and pre- and post-judgment interest.

COUNT III - State Law Medical Negligence
Plaintiff, Michael F. Rogers, Esquire, Administrator of the Estate of Terrence T. Taylor,
Deceased vy. Defendants PrimeCare, Dr. Margaret Carrillo, Claudette Foster, R.N., Thomas
Reese, R.N., Judith McIlhorne, R.N., Sherri Jones, M.A., and Medical John Does 1-10

150. PrimeCare and its employee medical providers including Dr. Margaret Carrillo,
Claudette Foster, R.N., Thomas Reese, R.N., Judith MclIlhorne, R.N., Sherri Jones, M.A., and
Medical John Does 1-10 had a duty to comply with generally accepted medical standards of care
in their medical treatment of Terrence T. Taylor.

151. Defendant PrimeCare, directly and by and through its agents, servants, and
employees, had a duty to assess, evaluate, diagnosis, monitor, transfer, and otherwise provide
prompt medical treatment to inmates of MCCF experiencing a serious medical condition, like
Terrence T. Taylor.

152. Defendant PrimeCare, directly and by and through its agents, servants, and

employees, violated its duty of care to Terrence T. Taylor by failing to assess, evaluate,

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diagnose, monitor, transfer, and otherwise provide appropriate medical treatment in light of the
circumstances.

153. Defendant PrimeCare failed to hire, select, retain, and properly supervise
competent medical professionals to provide medical care to inmates experiencing a life-
threatening condition, like Terrence T. Taylor.

154. Defendant PrimeCare failed to establish and/or follow policies, practices and
procedures to ensure that inmates admitted to MCCF experiencing a serious medical condition,
like Terrence T. Taylor, received proper and timely treatment.

155. Defendant PrimeCare, directly and by and through its agents, servants, and
employees, violated its duty of care by failing to request an immediate medical transport to the
Emergency Department in light of the circumstances.

156. PrimeCare’s violation of its duty of care to Terrence T. Taylor was a direct and
proximate cause and a substantial factor in bringing about Terrence T. Taylor’s death.

WHEREFORE, Plaintiff demands judgment against Defendants PrimeCare, Dr.
Margaret Carrillo, Claudette Foster, R.N., Thomas Reese, R.N., Judith McIlhorne, R.N., Sherri
Jones, M.A., and Medical John Does 1-10 for all damages provided under the Pennsylvania
Survival and Wrongful death acts, jointly and severally, together with attorney’s fees and costs,

and pre- and post-judgment interest.

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COUNT IV — State Law Medical Negligence
Plaintiff, Michael F. Rogers, Esquire, Administrator of the Estate of Terrence T. Taylor,
Deceased v. Defendants Albert Einstein Healthcare Network and Einstein Medical Center
Montgomery

157. Defendants, Albert Einstein Healthcare Network and Einstein Medical Center
Montgomery, directly and by and through their agents, servants, and employees, including
Medical John Does 1-10, had a duty to comply with generally accepted medical standards of care
in their medical treatment of Terrence T. Taylor.

158. Defendants, Albert Einstein Healthcare Network and Einstein Medical Center
Montgomery, had a duty to provide appropriate medical advice to PrimeCare medical
professionals inquiring with Defendants, Albert Einstein Healthcare Network and Einstein
Medical Center Montgomery, regarding the health status of an inmate, like Terrence T. Taylor.

159. When contacted by Defendant PrimeCare concerning the change in condition in
Mr. Taylor post-discharge, Defendants, Albert Einstein Healthcare Network and Einstein
Medical Center Montgomery, had a duty to inform the medical providers of PrimeCare that
Terrence Taylor, who was believed to be suffering from a serious medical event, i.e. an allergic
reaction, should be immediately returned to the Emergency Department for evaluation.

160. Defendants, Albert Einstein Healthcare Network and Einstein Medical Center
Montgomery, by and through their agents, servants, and employees, violated their duty of care to
Terrence T. Taylor by failing to make appropriate medical treatment recommendations when
contacted by Defendant PrimeCare.

161. Defendants, Albert Einstein Healthcare Network and Einstein Medical Center
Montgomery, failed to establish and/or follow policies, practices and procedures regarding

communication by and between their agents, servants, and employees and Defendant PrimeCare

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regarding the medical conditions of inmates at MCCF, including patients like Terrence T.
Taylor.

162. Defendants, Albert Einstein Healthcare Network and Einstein Medical Center
Montgomery’s violation of their duty of care to Terrence T. Taylor was a direct and proximate
cause and a substantial factor in bringing about Terrence T. Taylor’s death.

WHEREFORE, Plaintiff demands judgment against Defendants, Albert Einstein
Healthcare Network and Einstein Medical Center Montgomery, for all damages provided under
the Pennsylvania Survival and Wrongful death acts, jointly and severally, together with

attorney’s fees and costs, and pre- and post-judgment interest.

DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury as to all counts and all issues raised by this Complaint.

Respectfully submitted,

KLINE & SPECTER, P.C.

wm LA

SHANIN SPECTER, ESQUIRE
COLIN BURKE, ESQUIRE

1525 Locust Street, 19" Floor
Philadelphia, Pennsylvania 19102
215-772-1000

Attorneys for Plaintiff

DATED: _/¢/d2 )4

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EXHIBIT

 
 

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Register of Wills
Certificate of Grant of Letters

File No. 46-2017-X4552
SEAL ESTATE OF TERRENCE T TAYLOR
| Also known as (no aliases)
Social Security No. XXX-XX-XXXX

WHEREAS, TERRENCE T TAYLOR late of ABINGTON TOWNSHIP who died on
28th day of October 2017 and

WHEREAS, the grant of letters is required for the administration of the estate.

THEREFORE, I, D. Bruce Hanes, Register of Wills in and for the County of
Montgomery, in the Commonwealth of Pennsylvania, hereby certify that I have this day granted Letters
of Administration to MICHAEL F ROGERS who has duly qualified as ADMINISTRATOR of the estate
of the above named decedent and has agreed to administer the estate according to law, all of which fully
appears of record in my Office at Norristown, Pennsylvania.

IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed the seal of my
Office on this 15th day of December 2017.

 
 

  

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a

- D. Bruce Hanes
Montgomery County Register of Wills

 
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EXHIBIT

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL F. ROGERS, ESQUIRE
Administrator of the Estate of
TERRENCE T. TAYLOR, deceased
510 Township Line Road, Suite 150
Blue Bell, Pennsylvania 19422

Plaintiff, : NO.
Vv.

MONTGOMERY COUNTY
One Montgomery Plaza

425 Swede Street

Norristown, Pennsylvania 19401

AND

CORRECTIONAL OFFICER

BRIAN CHRISTY

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

GREGORY FERRELL

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

THOMAS STIMSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
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CORRECTIONAL OFFICER

JAMES MEEHAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

MELVIN HOFFMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

ANTHONY STEVENSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

DAVID SLAYMAKER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

VICTORIA BARATUCCI

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

SERGEANT EDWARD KEEFER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
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CORPORAL SEAN LEHMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

LIEUTENANT DAVID MONTEITH

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORPORAL TYRA IZZARD

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

PRIMECARE MEDICAL, INC.
3940 Locust Lane
Harrisburg, Pennsylvania 17109

AND

CLAUDETTE FOSTER, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

THOMAS REESE, R.N.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

JUDITH MCILHORNE, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

 

 
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AND

SHERRI JONES, M.A.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

DR. MARGARET CARRILLO
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

ALBERT EINSTEIN HEALTHCARE NETWORK :
a/k/a EINSTEIN HEALTHCARE NETWORK

5501 Old York Road

Philadelphia, Pennsylvania 19141

AND

EINSTEIN MEDICAL CENTER MONTGOMERY:
a/k/a ALBERT EINSTEIN MEDICAL CENTER
MONTGOMERY a/k/a ALBERT EINSTEIN
MEDICAL CENTER — MONTGOMERY

559 West Germantown Pike

East Norriton, Pennsylvania 19403

AND

MEDICAL JOHN DOES 1-10
c/o PrimeCare Medical, Inc.
3940 Locust Lane

Harrisburg, Pennsylvania 17109

AND

CORRECTIONAL OFFICER JOHN DOES 1-10
c/o Montgomery County Correctional Facility

60 Eagleville Road

Eagleville, Pennsylvania 19403

Defendants.

 

 
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CERTIFICATE OF MERIT AS TO DEFENDANT
PRIMECARE MEDICAL, INC,

I, Colin Burke, Esquire, hereby certify that:

XX An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by this
defendant in the treatment, practice or work that is the subject of the complaint, fell outside
acceptable professional standards and that such conduct was a cause in bringing about the harm.
Xx An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by other
licensed professionals for whom this defendant is responsible in the treatment, practice or work
that is the subject of the complaint, fell outside acceptable professional standards and that such
conduct was a cause in bringing about the harm.

[X| The claim that this defendant deviated from an acceptable professional standard is based
on allegations that other licensed professionals for whom this defendant is responsible deviated
from an acceptable professional standard and an appropriate licensed professional has supplied a
written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or
work that is the subject of the complaint, fell outside acceptable professional standards and that

such conduct was a cause in bringing about the harm.

 
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[_] Expert testimony of an appropriate licensed professional is unnecessary for prosecution of

the claim against this defendant.

DATED: _ \° Nr

BY:

Respectfully submitted,

KLINE & SPECTER, P.C.

Ly

SHANIN SPECTER, ESQUIRE
COLIN BURKE, ESQUIRE
Attorneys for Plaintiff
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EXHIBIT

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL F. ROGERS, ESQUIRE
Administrator of the Estate of
TERRENCE T. TAYLOR, deceased
510 Township Line Road, Suite 150
Blue Bell, Pennsylvania 19422

Plaintiff, : NO.
V.

MONTGOMERY COUNTY
One Montgomery Plaza

425 Swede Street

Norristown, Pennsylvania 19401

AND

CORRECTIONAL OFFICER

BRIAN CHRISTY

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

GREGORY FERRELL

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

THOMAS STIMSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
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CORRECTIONAL OFFICER

JAMES MEEHAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

MELVIN HOFFMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

ANTHONY STEVENSON

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AND

CORRECTIONAL OFFICER

DAVID SLAYMAKER

c/o Montgomery County Correctional Facility
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Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

VICTORIA BARATUCCI

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

SERGEANT EDWARD KEEFER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
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CORPORAL SEAN LEHMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

LIEUTENANT DAVID MONTEITH

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORPORAL TYRA IZZARD

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

PRIMECARE MEDICAL, INC.
3940 Locust Lane
Harrisburg, Pennsylvania 17109

AND

CLAUDETTE FOSTER, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

THOMAS REESE, R.N.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

JUDITH MCILHORNE, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

 

 
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AND

SHERRI JONES, M.A.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

DR. MARGARET CARRILLO
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

ALBERT EINSTEIN HEALTHCARE NETWORK :
a/k/a EINSTEIN HEALTHCARE NETWORK

5501 Old York Road

Philadelphia, Pennsylvania 19141

AND

EINSTEIN MEDICAL CENTER MONTGOMERY:
a/k/a ALBERT EINSTEIN MEDICAL CENTER
MONTGOMERY a/k/a ALBERT EINSTEIN
MEDICAL CENTER — MONTGOMERY

559 West Germantown Pike

East Norriton, Pennsylvania 19403

AND

MEDICAL JOHN DOES 1-10
c/o PrimeCare Medical, Inc.
3940 Locust Lane

Harrisburg, Pennsylvania 17109

AND

CORRECTIONAL OFFICER JOHN DOES 1-10
c/o Montgomery County Correctional Facility

60 Eagleville Road

Eagleville, Pennsylvania 19403

Defendants.

 

 
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CERTIFICATE OF MERIT AS TO DEFENDANT
CLAUDETTE FOSTER, R.N.

I, Colin Burke, Esquire, hereby certify that:

x An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by this
defendant in the treatment, practice or work that is the subject of the complaint, fell outside
acceptable professional standards and that such conduct was a cause in bringing about the harm.
C] An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by other
licensed professionals for whom this defendant is responsible in the treatment, practice or work
that is the subject of the complaint, fell outside acceptable professional standards and that such
conduct was a cause in bringing about the harm.

LC] The claim that this defendant deviated from an acceptable professional standard is based
on allegations that other licensed professionals for whom this defendant is responsible deviated
from an acceptable professional standard and an appropriate licensed professional has supplied a
written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or
work that is the subject of the complaint, fell outside acceptable professional standards and that

such conduct was a cause in bringing about the harm.

 
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L] Expert testimony of an appropriate licensed professional is unnecessary for prosecution of

the claim against this defendant.

DATED: lefaah

BY:

Respectfully submitted,

KLINE & SPECTER, P.C.

 

SHANIN SPECTER, ESQUIRE
COLIN BURKE, ESQUIRE
Attorneys for Plaintiff
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 56 of 97

EXHIBIT

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL F. ROGERS, ESQUIRE
Administrator of the Estate of
TERRENCE T. TAYLOR, deceased
510 Township Line Road, Suite 150
Blue Bell, Pennsylvania 19422

Plaintiff, : NO.
Vv.

MONTGOMERY COUNTY
One Montgomery Plaza

425 Swede Street

Norristown, Pennsylvania 19401

AND

CORRECTIONAL OFFICER

BRIAN CHRISTY

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

GREGORY FERRELL

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

THOMAS STIMSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
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CORRECTIONAL OFFICER

JAMES MEEHAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

MELVIN HOFFMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

ANTHONY STEVENSON

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Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

DAVID SLAYMAKER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

VICTORIA BARATUCCI

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

SERGEANT EDWARD KEEFER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
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CORPORAL SEAN LEHMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

LIEUTENANT DAVID MONTEITH

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORPORAL TYRA IZZARD

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

PRIMECARE MEDICAL, INC.
3940 Locust Lane
Harrisburg, Pennsylvania 17109

AND

CLAUDETTE FOSTER, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

THOMAS REESE, R.N.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

JUDITH MCILHORNE, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 60 of 97

 

AND

SHERRI JONES, M.A.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

DR. MARGARET CARRILLO
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

ALBERT EINSTEIN HEALTHCARE NETWORK :
a/k/a EINSTEIN HEALTHCARE NETWORK

5501 Old York Road

Philadelphia, Pennsylvania 19141

AND

EINSTEIN MEDICAL CENTER MONTGOMERY:
a/k/a ALBERT EINSTEIN MEDICAL CENTER
MONTGOMERY a/k/a ALBERT EINSTEIN
MEDICAL CENTER — MONTGOMERY

559 West Germantown Pike

East Norriton, Pennsylvania 19403

AND

MEDICAL JOHN DOES 1-10
c/o PrimeCare Medical, Inc.
3940 Locust Lane

Harrisburg, Pennsylvania 17109

AND

CORRECTIONAL OFFICER JOHN DOES 1-10
c/o Montgomery County Correctional Facility

60 Eagleville Road

Eagleville, Pennsylvania 19403

Defendants.

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 61 of 97

CERTIFICATE OF MERIT AS TO DEFENDANT
THOMAS REESE, R.N.

I, Colin Burke, Esquire, hereby certify that:

An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by this
defendant in the treatment, practice or work that is the subject of the complaint, fell outside
acceptable professional standards and that such conduct was a cause in bringing about the harm.
CJ An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by other
licensed professionals for whom this defendant is responsible in the treatment, practice or work
that is the subject of the complaint, fell outside acceptable professional standards and that such
conduct was a cause in bringing about the harm.

CJ The claim that this defendant deviated from an acceptable professional standard is based
on allegations that other licensed professionals for whom this defendant is responsible deviated
from an acceptable professional standard and an appropriate licensed professional has supplied a
written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or
work that is the subject of the complaint, fell outside acceptable professional standards and that

such conduct was a cause in bringing about the harm.

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 62 of 97

[| Expert testimony of an appropriate licensed professional is unnecessary for prosecution of

the claim against this defendant.

DATED:

\\>>4)

BY:

Respectfully submitted,

KLINE & SPECTER, P.C.

OY

SHANIN SPECTER, ESQUIRE
COLIN BURKE, ESQUIRE
Attorneys for Plaintiff

 
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EXHIBIT

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL F. ROGERS, ESQUIRE
Administrator of the Estate of
TERRENCE T. TAYLOR, deceased
510 Township Line Road, Suite 150
Blue Bell, Pennsylvania 19422

Plaintiff, ; NO.
Vv.

MONTGOMERY COUNTY
One Montgomery Plaza

425 Swede Street

Norristown, Pennsylvania 19401

AND

CORRECTIONAL OFFICER

BRIAN CHRISTY

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

GREGORY FERRELL

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

THOMAS STIMSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 65 of 97

 

CORRECTIONAL OFFICER

JAMES MEEHAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

MELVIN HOFFMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

ANTHONY STEVENSON

c/o Montgomery County Correctional Facility
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Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

DAVID SLAYMAKER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

VICTORIA BARATUCCI

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

SERGEANT EDWARD KEEFER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
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CORPORAL SEAN LEHMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

LIEUTENANT DAVID MONTEITH

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORPORAL TYRA IZZARD

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

PRIMECARE MEDICAL, INC.
3940 Locust Lane
Harrisburg, Pennsylvania 17109

AND

CLAUDETTE FOSTER, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

THOMAS REESE, R.N.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

JUDITH MCILHORNE, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

 

 
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AND

SHERRI JONES, M.A.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

DR. MARGARET CARRILLO
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

ALBERT EINSTEIN HEALTHCARE NETWORK :
a/k/a EINSTEIN HEALTHCARE NETWORK

5501 Old York Road

Philadelphia, Pennsylvania 19141

AND

EINSTEIN MEDICAL CENTER MONTGOMERY:
a/k/a ALBERT EINSTEIN MEDICAL CENTER
MONTGOMERY a/k/a ALBERT EINSTEIN
MEDICAL CENTER — MONTGOMERY

559 West Germantown Pike

East Norriton, Pennsylvania 19403

AND

MEDICAL JOHN DOES 1-10
c/o PrimeCare Medical, Inc.
3940 Locust Lane

Harrisburg, Pennsylvania 17109

AND

CORRECTIONAL OFFICER JOHN DOES 1-10
c/o Montgomery County Correctional Facility

60 Eagleville Road

Eagleville, Pennsylvania 19403

Defendants.

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 68 of 97

CERTIFICATE OF MERIT AS TO DEFENDANT
JUDITH MCILHORNE, R.N.

I, Colin Burke, Esquire, hereby certify that:

XxX An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by this
defendant in the treatment, practice or work that is the subject of the complaint, fell outside
acceptable professional standards and that such conduct was a cause in bringing about the harm.
[| An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by other
licensed professionals for whom this defendant is responsible in the treatment, practice or work
that is the subject of the complaint, fell outside acceptable professional standards and that such
conduct was a cause in bringing about the harm.

[| The claim that this defendant deviated from an acceptable professional standard is based
on allegations that other licensed professionals for whom this defendant is responsible deviated
from an acceptable professional standard and an appropriate licensed professional has supplied a
written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or
work that is the subject of the complaint, fell outside acceptable professional standards and that

such conduct was a cause in bringing about the harm.

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 69 of 97

LJ Expert testimony of an appropriate licensed professional is unnecessary for prosecution of

the claim against this defendant.

DATED: _)* a \\"s

BY:

Respectfully submitted,

KLINE & SPECTER, P.C.

CA p-

SHANIN SPECTER, ESQUIRE
COLIN BURKE, ESQUIRE
Attorneys for Plaintiff
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 70 of 97

EXHIBIT

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 71 of 97

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL F. ROGERS, ESQUIRE
Administrator of the Estate of
TERRENCE T. TAYLOR, deceased
510 Township Line Road, Suite 150
Blue Bell, Pennsylvania 19422

Plaintiff, ; NO.
Vv.

MONTGOMERY COUNTY
One Montgomery Plaza

425 Swede Street

Norristown, Pennsylvania 19401

AND

CORRECTIONAL OFFICER

BRIAN CHRISTY

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

GREGORY FERRELL

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

THOMAS STIMSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 72 of 97

 

CORRECTIONAL OFFICER

JAMES MEEHAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

MELVIN HOFFMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

ANTHONY STEVENSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

DAVID SLAYMAKER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

VICTORIA BARATUCCI

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

SERGEANT EDWARD KEEFER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 73 of 97

 

CORPORAL SEAN LEHMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

LIEUTENANT DAVID MONTEITH

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORPORAL TYRA IZZARD

c/o Montgomery County Correctional Facility
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Harrisburg, Pennsylvania 17109

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 74 of 97

 

AND

SHERRI JONES, M.A.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

DR. MARGARET CARRILLO
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

ALBERT EINSTEIN HEALTHCARE NETWORK :
a/k/a EINSTEIN HEALTHCARE NETWORK

5501 Old York Road

Philadelphia, Pennsylvania 19141

AND

EINSTEIN MEDICAL CENTER MONTGOMERY:
a/k/a ALBERT EINSTEIN MEDICAL CENTER
MONTGOMERY a/k/a ALBERT EINSTEIN
MEDICAL CENTER — MONTGOMERY

559 West Germantown Pike

East Norriton, Pennsylvania 19403

AND

MEDICAL JOHN DOES 1-10
c/o PrimeCare Medical, Inc.
3940 Locust Lane

Harrisburg, Pennsylvania 17109

AND

CORRECTIONAL OFFICER JOHN DOES 1-10
c/o Montgomery County Correctional Facility

60 Eagleville Road

Eagleville, Pennsylvania 19403

Defendants.

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 75 of 97

CERTIFICATE OF MERIT AS TO DEFENDANT
SHERRI JONES, M.A.

I, Colin Burke, Esquire, hereby certify that:

x] An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by this
defendant in the treatment, practice or work that is the subject of the complaint, fell outside
acceptable professional standards and that such conduct was a cause in bringing about the harm.
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that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by other
licensed professionals for whom this defendant is responsible in the treatment, practice or work
that is the subject of the complaint, fell outside acceptable professional standards and that such
conduct was a cause in bringing about the harm.

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on allegations that other licensed professionals for whom this defendant is responsible deviated
from an acceptable professional standard and an appropriate licensed professional has supplied a
written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or
work that is the subject of the complaint, fell outside acceptable professional standards and that

such conduct was a cause in bringing about the harm.

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 76 of 97

C] Expert testimony of an appropriate licensed professional is unnecessary for prosecution of

the claim against this defendant.

DATED:

\ 0\ }>\\A

BY:

Respectfully submitted,

KLINE & SPECTER, P.C.

1)

SHANIN SPECTER, ESQUIRE
COLIN BURKE, ESQUIRE
Attorneys for Plaintiff
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 77 of 97

EXHIBIT

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 78 of 97

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL F. ROGERS, ESQUIRE
Administrator of the Estate of
TERRENCE T. TAYLOR, deceased
510 Township Line Road, Suite 150
Blue Bell, Pennsylvania 19422

Plaintiff, : NO.
Vv.

MONTGOMERY COUNTY
One Montgomery Plaza

425 Swede Street

Norristown, Pennsylvania 19401

AND

CORRECTIONAL OFFICER

BRIAN CHRISTY

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

GREGORY FERRELL

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

THOMAS STIMSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 79 of 97

 

CORRECTIONAL OFFICER

JAMES MEEHAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

MELVIN HOFFMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

ANTHONY STEVENSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

DAVID SLAYMAKER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

VICTORIA BARATUCCI

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

SERGEANT EDWARD KEEFER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 80 of 97

 

CORPORAL SEAN LEHMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

LIEUTENANT DAVID MONTEITH

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORPORAL TYRA IZZARD

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

PRIMECARE MEDICAL, INC.
3940 Locust Lane
Harrisburg, Pennsylvania 17109

AND

CLAUDETTE FOSTER, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

THOMAS REESE, R.N.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

JUDITH MCILHORNE, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 81 of 97

 

AND

SHERRI JONES, M.A.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

DR. MARGARET CARRILLO
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

ALBERT EINSTEIN HEALTHCARE NETWORK :
a/k/a EINSTEIN HEALTHCARE NETWORK

5501 Old York Road

Philadelphia, Pennsylvania 19141

AND

EINSTEIN MEDICAL CENTER MONTGOMERY:
a/k/a ALBERT EINSTEIN MEDICAL CENTER
MONTGOMERY a/k/a ALBERT EINSTEIN
MEDICAL CENTER — MONTGOMERY

559 West Germantown Pike

East Norriton, Pennsylvania 19403

AND

MEDICAL JOHN DOES 1-10
c/o PrimeCare Medical, Inc.
3940 Locust Lane

Harrisburg, Pennsylvania 17109

AND

CORRECTIONAL OFFICER JOHN DOES 1-10
c/o Montgomery County Correctional Facility

60 Eagleville Road

Eagleville, Pennsylvania 19403

Defendants.

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 82 of 97

CERTIFICATE OF MERIT AS TO DEFENDANT
DR. MARGARET CARRILLO

I, Colin Burke, Esquire, hereby certify that:

Xx] An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by this
defendant in the treatment, practice or work that is the subject of the complaint, fell outside
acceptable professional standards and that such conduct was a cause in bringing about the harm.
[| An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by other
licensed professionals for whom this defendant is responsible in the treatment, practice or work
that is the subject of the complaint, fell outside acceptable professional standards and that such
conduct was a cause in bringing about the harm.

[| The claim that this defendant deviated from an acceptable professional standard is based
on allegations that other licensed professionals for whom this defendant is responsible deviated
from an acceptable professional standard and an appropriate licensed professional has supplied a
written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or
work that is the subject of the complaint, fell outside acceptable professional standards and that

such conduct was a cause in bringing about the harm.

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 83 of 97

LC] Expert testimony of an appropriate licensed professional is unnecessary for prosecution of

the claim against this defendant.

DATED: \¥ \2¥ \\\

BY:

Respectfully submitted,

KLINE & SPECTER, P.C.

 

SHANIN SPECTER, ESQUIRE
COLIN BURKE, ESQUIRE
Attorneys for Plaintiff
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 84 of 97

EXHIBIT

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 85 of 97

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL F. ROGERS, ESQUIRE
Administrator of the Estate of
TERRENCE T. TAYLOR, deceased
510 Township Line Road, Suite 150
Blue Bell, Pennsylvania 19422

Plaintiff, : NO.
Vv.

MONTGOMERY COUNTY
One Montgomery Plaza

425 Swede Street

Norristown, Pennsylvania 19401

AND

CORRECTIONAL OFFICER

BRIAN CHRISTY

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

GREGORY FERRELL

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

THOMAS STIMSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 86 of 97

 

CORRECTIONAL OFFICER

JAMES MEEHAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

MELVIN HOFFMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

ANTHONY STEVENSON

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

DAVID SLAYMAKER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORRECTIONAL OFFICER

VICTORIA BARATUCCI

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

SERGEANT EDWARD KEEFER

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 87 of 97

 

CORPORAL SEAN LEHMAN

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

LIEUTENANT DAVID MONTEITH

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

CORPORAL TYRA IZZARD

c/o Montgomery County Correctional Facility
60 Eagleville Road

Eagleville, Pennsylvania 19403

AND

PRIMECARE MEDICAL, INC.
3940 Locust Lane
Harrisburg, Pennsylvania 17109

AND

CLAUDETTE FOSTER, R.N.
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

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THOMAS REESE, R.N.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

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c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 88 of 97

 

AND

SHERRI JONES, M.A.

c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

DR. MARGARET CARRILLO
c/o PrimeCare Medical, Inc.
3940 Locust Avenue
Harrisburg, Pennsylvania 17109

AND

ALBERT EINSTEIN HEALTHCARE NETWORK :
a/k/a EINSTEIN HEALTHCARE NETWORK

5501 Old York Road

Philadelphia, Pennsylvania 19141

AND

EINSTEIN MEDICAL CENTER MONTGOMERY:
a/k/a ALBERT EINSTEIN MEDICAL CENTER
MONTGOMERY a/k/a ALBERT EINSTEIN
MEDICAL CENTER — MONTGOMERY

559 West Germantown Pike

East Norriton, Pennsylvania 19403

AND

MEDICAL JOHN DOES 1-10
c/o PrimeCare Medical, Inc.
3940 Locust Lane

Harrisburg, Pennsylvania 17109

AND

CORRECTIONAL OFFICER JOHN DOES 1-10
c/o Montgomery County Correctional Facility

60 Eagleville Road

Eagleville, Pennsylvania 19403

Defendants.

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 89 of 97

CERTIFICATE OF MERIT AS TO DEFENDANT
ALBERT EINSTEIN HEALTHCARE NETWORK A/K/A
EINSTEIN HEALTHCARE NETWORK
I, Colin Burke, Esquire, hereby certify that:

><] ‘An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by this
defendant in the treatment, practice or work that is the subject of the complaint, fell outside
acceptable professional standards and that such conduct was a cause in bringing about the harm.
An appropriate licensed professional has supplied a written statement to the undersigned
that there is a basis to conclude that the care, skill or knowledge exercised or exhibited by other
licensed professionals for whom this defendant is responsible in the treatment, practice or work
that is the subject of the complaint, fell outside acceptable professional standards and that such
conduct was a cause in bringing about the harm.

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on allegations that other licensed professionals for whom this defendant is responsible deviated
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written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or

work that is the subject of the complaint, fell outside acceptable professional standards and that

such conduct was a cause in bringing about the harm.

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 90 of 97

[| Expert testimony of an appropriate licensed professional is unnecessary for prosecution of

the claim against this defendant.

DATED: __\*\»\\"\

BY:

Respectfully submitted,

KLINE & SPECTER, P.C.

 

SHANIN SPECTER, ESQUIRE
COLIN BURKE, ESQUIRE
Attorneys for Plaintiff
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 91 of 97

EXHIBIT

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 92 of 97

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL F. ROGERS, ESQUIRE
Administrator of the Estate of
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510 Township Line Road, Suite 150
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Plaintiff, : NO.
Vv.

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BRIAN CHRISTY

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THOMAS STIMSON

c/o Montgomery County Correctional Facility
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Eagleville, Pennsylvania 19403

AND

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 93 of 97

 

CORRECTIONAL OFFICER

JAMES MEEHAN

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Eagleville, Pennsylvania 19403

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VICTORIA BARATUCCI

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Eagleville, Pennsylvania 19403

AND

SERGEANT EDWARD KEEFER

c/o Montgomery County Correctional Facility
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Eagleville, Pennsylvania 19403

AND

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 94 of 97

 

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LIEUTENANT DAVID MONTEITH

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Harrisburg, Pennsylvania 17109

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 95 of 97

 

AND

SHERRI JONES, M.A.

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Harrisburg, Pennsylvania 17109

AND

DR. MARGARET CARRILLO
c/o PrimeCare Medical, Inc.
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Harrisburg, Pennsylvania 17109

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a/k/a EINSTEIN HEALTHCARE NETWORK

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MONTGOMERY a/k/a ALBERT EINSTEIN
MEDICAL CENTER — MONTGOMERY

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AND

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Harrisburg, Pennsylvania 17109

AND

CORRECTIONAL OFFICER JOHN DOES 1-10
c/o Montgomery County Correctional Facility

60 Eagleville Road

Eagleville, Pennsylvania 19403

Defendants.

 

 
Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 96 of 97

CERTIFICATE OF MERIT AS TO DEFENDANT
EINSTEIN MEDICAL CENTER MONTGOMERY A/K/A ALBERT EINSTEIN
MEDICAL CENTER MONTGOMERY A/K/A ALBERT EINSTEIN MEDICAL
CENTER - MONTGOMERY
I, Colin Burke, Esquire, hereby certify that:

x] An appropriate licensed professional has supplied a written statement to the undersigned
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Case 2:19-cv-04921-JDW Document 1 Filed 10/22/19 Page 97 of 97

[|] Expert testimony of an appropriate licensed professional is unnecessary for prosecution of

the claim against this defendant.

DATED: __\® Naa \)

BY:

Respectfully submitted,

KLINE & SPECTER, P.C.
Ch

SHANIN SPECTER, ESQUIRE

COLIN BURKE, ESQUIRE
Attorneys for Plaintiff

 
